        Case: 1:24-cv-06039 Document #: 124-4 Filed: 07/15/25 Page 1 of 2 PageID #:2573



                         Cooperative Disability
                         Investigations Program




Preventing and Detecting Fraud
  The Cooperative Disability Investigations (CDI) program is a critical anti-fraud initiative that combats fraud
  within the Social Security Administration’s (SSA) disability programs. A CDI unit consists of an Office of
  the Inspector General (OIG) special agent who leads the unit, and personnel from SSA, State disability
  determinations services, and state or local law enforcement partners.
  CDI units primarily investigate allegations of fraud before benefits are paid, and supports continuing
  disability reviews by providing evidence for determinations. Stopping an improper payment before it occurs,
  or as soon as it is suspected, is in the best interest of SSA, OIG, and taxpayers.




                                                                                                                       (over)
                                                                                    Cooperative Disability Investigations Program
       Case: 1:24-cv-06039 Document #: 124-4 Filed: 07/15/25 Page 2 of 2 PageID #:2574

CDI Coverage
  The CDI program began as a pilot in 1997, with just five CDI units.
  As of September 12, 2022, there are 50 CDI units covering 50 states, the District of Columbia, and the
  Commonwealth of Puerto Rico, in addition to the U.S. Virgin Islands, Guam, American Samoa, and the
  Northern Mariana Islands.
  SSA and the OIG worked with state and local partners to successfully expand CDI coverage to all 50 states
  and U.S. territories prior to October 1, 2022, in accordance with the Bipartisan Budget Act of 2015.
  In conjunction with SSA, SSA OIG has implemented “CDI Hubs” to leverage existing CDI units to conduct
  investigations in areas of expansion without building office space for each location, resulting in significant
  cost savings.

Investigative Outcomes
  The CDI unit investigates the fraud allegation and documents their findings in a report. The report is used
  as additional documentation or evidence in making a disability determination. If the CDI investigation
  reveals fraudulent activity, the case might also be presented to federal and state prosecutors for
  consideration of prosecution, or SSA might impose administrative sanctions.

Program Results
  The CDI program helps to ensure only people who qualify
  for Social Security benefits receive them.
  During fiscal year 2022, the CDI program reported
  more than $33 million in projected savings to SSA’s
  disability programs and approximately $46 million to
  non-SSA programs, such as Medicare, Medicaid, housing
  assistance, and nutrition assistance programs.
  Since inception, CDI investigations have contributed to
  a projected savings to taxpayers of approximately $7.9 billion: $4.4 billion in projected savings to SSA’s
  Title II and Title XVI disability programs, and $3.5 billion in projected savings to related Federal and State
  benefit programs.

How Do I Report Fraud?
  Reporting is easy, safe, and secure. You can reach us by internet, mail, facsimile, or telephone.
  Online: https://oig.ssa.gov
  U.S. Mailing Address:
     Social Security Administration Fraud Hotline
     Office of the Inspector General
     P.O. Box 17785
     Baltimore, Md 21235
  Fax: 410-597-0118
  Telephone: 1-800-269-0271 from 10:00 a.m. to 4:00 p.m. Eastern Standard Time, Monday through Friday,
  excluding Federal holidays
  TTY: 1-866-501-2101 for the deaf or hard of hearing

                                                                                      oig.ssa.gov
                                                                                                   Social Security Administration
                                                                                                   Office of the Inspector General
                                                                  Publication No. OIG 85-010 | January 2023 (Recycle prior editions)
                                                                                       Cooperative Disability Investigations Program
                                                                                  Produced and published at U.S. taxpayer expense
